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                            UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

IN RE:                                                 §           CHAPTER 11
                                                       §
MONTCO OFFSHORE, INC., et al1                          §          CASE NO. 17-31646
                                                       §
                                                       §           JUDGE ISGUR
                                                       §
         DEBTORS                                       §          JOINTLY ADMINISTERED

       JOINDER OF BOLLINGER FOURCHON, LLC TO OCEANEERING
   INTERNATIONAL, INC.’S EMERGENCY MOTION FOR ENTRY OF ORDER
PURSUANT TO 11 U.S.C. § 1121(d) TERMINATING DEBTORS’ EXCLUSIVE PERIOD
     TO FILE CHAPTER 11 PLAN AND SOLICIT ACCEPTANCES THEREOF


    THIS MOTION SEEKS ENTRY OF AN ORDER THAT MAY ADVERSELY AFFECT YOU . IF YOU
    OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING PARTY TO
    RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A
    RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOUR RESPONSE MUST STATE WHY THE
    MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF
    MAY BE GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND
    HAVE NOT REACHED AN AGREEMENT, YOU MUST ATTEND THE HEARING. UNLESS THE
    PARTIES AGREE OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE HEARING AND
    MAY DECIDE THE MOTION AT THE HEARING.
    EMERGENCY RELIEF HAS BEEN REQUESTED. IF THE COURT CONSIDERS THE MOTION ON AN
    EMERGENCY BASIS, THEN YOU WILL HAVE LESS THAN 21 DAYS TO ANSWER. IF YOU OBJECT
    TO THE REQUESTED RELIEF OR IF YOU BELIEVE THAT THE EMERGENCY CONSIDERATION IS
    NOT WARRANTED, YOU SHOULD FILE AN IMMEDIATE RESPONSE. A HEARING WILL BE HELD
    ON THIS MATTER ON NOVEMBER 29, 2017 AT 2:00 P.M. (CT) BEFORE THE HONORABLE
    MARVIN ISGUR, 515 RUSK STREET, COURTROOM 404, HOUSTON, TEXAS 77002

    REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.



         Bollinger Fourchon, LLC (“Bollinger”), a creditor of Montco Offshore, Inc. (“MOI”) and

Montco Oilfield Contractors, LLC (“MOC”, together with MOI, the “Debtors”), and appearing

herein through undersigned counsel, hereby submits this Joinder to Oceaneering International,

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  The Debtors in these chapter 11 cases, together with the last four (4) digits of each Debtor’s federal tax
identification number, are Montco Offshore, Inc. (1448) and Montco Oilfield Contractors, LLC (9886). The mailing
address for the Debtors, solely for purposes of notices and communications, is 17751 Hwy 3235, Galliano,
Louisiana 70354.
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Inc.’s (“Oceaneering”) Motion to Terminate Exclusivity Period pursuant to 11 U.S.C. §1121(d)

(Doc. 639).

       For the reasons more fully set forth in Oceaneering’s Motion to Terminate Exclusivity

Period, cause exists to terminate the Debtor’s Solicitation Exclusivity Period and to deny the

Debtor’s Motion for Entry of an Order Extending Exclusivity Period Pursuant to Bankruptcy

Code 1121 (Doc. 605) filed on November 13, 2017, the fourth such motion filed by the Debtors.

       Because the Debtors are no longer seeking to confirm their Plan–rather they are seeking

to liquidate all assets (see Doc. 637)–there is cause to end the Debtors’ exclusivity period.

       Bollinger hereby joins in Oceaneering’s Motion to Terminate Exclusivity Period,

incorporates herein by reference the arguments contained therein, and requests that an order be

entered in the form attached to Oceaneering’s Motion to Terminate Exclusivity as Exhibit A

thereto.

November 28, 2017
                                              Respectfully submitted:

                                              GORDON, ARATA, MONTGOMERY,
                                              BARNETT, McCOLLAM, DUPLANTIS &
                                              EAGAN, LLC

                                              /s/ Michael E. Landis
                                              ___________________________________
                                              Stephen L. Williamson (La. Bar No. 8316)
                                              Michael E. Landis (La. Bar No. 36542)
                                              201 St. Charles Avenue, 40th Floor
                                              New Orleans, Louisiana 70170
                                              Telephone:     (504) 582-1111
                                              Facsimile:     (504) 582-1121
                                              E-mail:        swilliamson@gamb.law
                                              E-mail:        mlandis@gamb.law

                                              Attorneys for Bollinger Fourchon, LLC




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                               CERTIFICATE OF SERVICE

        I hereby certify that a copy of the above and foregoing document has been served

electronically upon all parties of record via the ECF noticing system this 28th day of November,

2017.

                                            /s/ Michael E. Landis
                                            ________________________________________




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